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                              UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


IN RE:

JOSEPH ARLINDO VALADAO and                                 CASE NO. 19-07895-MGW
NATERCIA MARIA VALADAO,
                                                           Chapter 7

                              Debtors             /


                                    NOTICE OF ABANDONMENT

PURSUANT TO SECTION 554, BANKRUPTCY CODE, AND F.R.B.P. 6007, NOTICE IS HEREBY
GIVEN OF THE ABANDONMENT OF THE FOLLOWING PROPERTY THAT IS BURDENSOME
AND HAS NO EQUITY FOR THE BENEFIT OF THE CHAPTER 7 ESTATE:

   1.    Homestead located at 542 Delton Blvd., Spring Hill, FL
   2.    Non homestead property located at 8289 Steward Ct., Spring Hill, FL
   3.    2006 Hyundai Santa Fe VIN KM8SC13D86U110862
   4.    2017 Nissan Rogue VIN JN8AT2MT1HW142463

                  NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
 ______________________________________________________________________________
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 14 days from the date set
forth on the attached proof of service, plus an additional three days for service if any party was
served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the
Court at 801 N. Florida Avenue Suite 555 Tampa, FL 33602-3899 and serve a copy on the
movant’s attorney, Traci K. Stevenson at P.O. Box 86690 Madeira Beach, FL 33738 , and any
other appropriate persons within the time allowed. If you file and serve a response within the time
permitted, the Court will either schedule and notify you of a hearing, or consider the response and
grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested.
_________________________________________________________________________




                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
furnished by U.S. Mail, electronically or hand delivered this September 26, 2019 to:
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U.S. TRUSTEE, 501 Polk St., Ste 1200, Tampa, FL 33602
Debtor, Joseph Arlindo Valadao, 8289 Steward Court, Spring Hill, FL 34608,
Debtor’s Atty, Maria D Boudreaux, 3900 First Street North #100 St., Petersburg, FL 33703
And all creditors on the attached mailing matrix


                                           /s/ Traci Stevenson
                                           TRACI K. STEVENSON, Trustee
                                           P.O. Box 86690
                                           Madeira Beach, FL 33738
                                           (727) 397-4838
                                           FBN 942227
                                           tracikstevenson@gmail.com
